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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

In Re Application of Bloomfield                                      1: 15-mc-00220-VM
Investment Resources Corp. for an Order
Directing Discovery from Elliot Daniloff,                      PROTECTIVE ORDER
ED Capital, LLC and ED Capital
Management, LLC Pursuant to 28 U.S.C.
§ 1782



Honorable Victor Marrero, U.S.D.J.

        The parties, by their undersigned counsel, having agreed to the following tenns of

confidentiality, and the Court having found that good cause exists for issuance of an

appropriately-tailored confidentiality order governing the disclosure and use by the parties of all

documents, testimony, exhibits, and any other materials and information disclosed or provided in

the above-referenced action (the "Action"), it is therefore hereby

        ORDERED that any person subject to this Order -- including without limitation the

parties to this action, their representatives, agents, expe11s and consultants, all third parties

providing discovery in this action, and all other interested persons with actual or constructive

notice of this Order -- shall adhere to the following terms, upon pain of contempt:

        1.     Any person subject to this Order who receives from any other person any

"Discovery Material" (i.e., information of any kind provided in the course of discovery in this

Action) that is designated as "Confidential" pursuant to the terms of this Order shall not disclose

such Confidential Discovery Material to anyone else except as expressly permitted hereunder.

       2.      The person producing any given Discovery Material may designate as

Confidential only such portion of such material as consists of:

       (a) previously undisclosed financial information (including without limitation

profitability reports and estimates);
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        (b) previously undisclosed material relating to ownership or control of any non-public
company;

        (c) previously undisclosed business plans, product development information, or

marketing plans;

       (d) any information of a personal or intimate nature regarding any individual; or

       (c) any other category of information hereinafter given confidential status by the Court.

       3.      With respect to the Confidential portion of any Discovery Material other than

deposition transcripts and exhibits, the producing person or that person's counsel may designate

such portion as "Confidential" by stamping or otherwise clearly marking as "Confidential" the

protected portion(s). With respect to deposition transcripts and exhibits, a producing person or

that person's counsel may indicate on the record that a question calls for Confidential

information, in which case the transcript of the designated testimony shall be bound in a separate

volume and marked "Confidential Information Governed by Protective Order" by the reporter.

       4.      If at any time prior to the conclusion of thi$ Action, a producing person realizes

that some po1tion(s) of Discovery Material that that person previously produced without

limitation should be designated as Confidential, the producing person may so designate by so

apprising all parties in writing, and such designated portion(s) of the Discovery Material will

thereafter be treated as Confidential under the tenns of this Order.

       5.      No person subject to this Order other than the producing person shall disclose any

of the Discovery Material designated by the producing person as Confidential to any other

person whomsoever, except to:

       (a) the parties to this action;




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       (b) counsel retained specifically for this action, including any paralegal, clerical and other

assistant employed by such counsel and assigned to this matter;

       (c) as to any document, its author, its addressee, and any other person indicated on the

face of the document as having received a copy;

       (d) any witness who counsel for a party in good faith believes may be called to testify in

this action, provided such person has first executed a Non-Disclosure Agreement in the form

annexed hereto;

       (e) any person retained by a party to serve as an expert witness or otherwise provide

specialized advice to counsel in connection with this action, provided such person has first

executed a Non-Disclosure Agreement in the form annexed hereto;

       (f) stenographers engaged to transcribe depositions conducted in this action; and

       (g) the Court and its support personnel.

       6.      Prior to any disclosure of any Confidential Discovery Material to any person

referred to in subparagraphs 5(d) or 5(e) above, such person shall be provided by counsel with a

copy of this Protective Order and shall sign a Non-Disclosure Agreement in the form annexed

hereto stating that that person has read this Order and agrees to be bound by its tenns.

       7.      In the event that any Confidential Discovery Material will be used in open court

or will be publicly flied, they shall not lose their status as Confidential Discovery Material

through such use. Counsel shall confer in advance on such procedures as are necessary to

protect the confidentiality and information. If the pa1ties are unable to agree upon such

procedures, the parties shall request a ruling from the Court.

       8.      A party who objects to any designation of confidentiality made by a producing

party, or a producing party who requests further limits on disclosure (such as "attorneys' eyes



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only" in extraordinary circumstances), may serve upon counsel for the producing party, or
receiving party, respectively, a written notice stating with particularity the grounds of the

objection or request. If agreement cannot be reached promptly, the parties shall request a ruling

from the Cou1t.

        9.      Each person who has access to Discovery Material that has been designated as

Confidential shall take all due precautions to prevent the unauthorized or inadvertent disclosure

of su.ch material.

        I 0.    If, in connection with this Action, a party inadvertently discloses information

subject to a claim of attorney-client privilege or attorney work product protection ("Inadvertently

Disclosed Information"), such disclosure shall not constitute or be deemed a waiver or forfeiture

of any claim of privilege or work product protection with respect to the Inadvertently Disclosed

Information and its subject matter.

        11.     If a disclosing party makes a claim of inadvertent disclosure, the receiving party

shall, within five business days, return or destroy all copies of the Inadvertently Disclosed

Infonnation, and provide a certification of counsel that all such information has been returned or

destroyed.

       12.     Within five business days of the notification that such Inadvertently Disclosed

Information has been returned or destroyed, the disclosing party shall produce a privilege log

with respect to the Inadvertently Disclosed Information.

       13.     The receiving party may move the Court for an Order compelling production of

the Inadvertently Disclosed Information. The molion shall be filed under seal, and shall not

assert as a ground for entering such an Order the fact or circumstances of the inadvertent

production.



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       14.     The disclosing party retains the burden of establishing the privileged or protected
nature of any Inadvertently Disclosed Information. Nothing in this Order shall limit the right of

any party to request an in camera review of the Inadvertently Disclosed Information.

       15.     This Protective Order shall survive the termination of the Action. Within 30 days

of the final disposition of this action, all Discovery Material designated as "Confidential,"

including copies, shall be returned promptly to the producing person, or, upon permission of the

producing person, destroyed."

       16.     This Com1 shall retain jurisdiction over all persons subject to this Order to the

extent necessary to enforce any obligations arising hereunder or to impose sanctions for any

contempt thereof,

       17.     Nothing herein shall be construed to limit in any way any party's use of its own

Confidential Discovery Material or a party's subsequent waiver of its own prior designation with

respect to its own Confidential Discovery Materials.

       SO STIPULATED AND AGREED.

Dated: March 2, 2016
       New York, New York


 DRINKER BIDDLE & REATH LLP                     REED SMITH LLP

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                          SO ORDERED,


                                U.S.D.J.




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